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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

 DANYALE YARGER, on behalf of herself
 and those similarly situated,

                        Plaintiff,
                                                       Case No. 19-cv-02767-JAR-JPO
        v.

 FRESH FARMS, LLC.

                         Defendant.



         PLAINTIFF’S MOTION TO ENFORCE SETTLEMENT AGREEMENT

       For the reasons stated below, Plaintiff respectfully requests that this Court grant this

Motion to Enforce Settlement Agreement by entering a judgment in Plaintiff’s favor against Fresh

Farms, LLC consistent with the terms of the parties’ Settlement Agreement, which is attached

hereto as Exhibit 1.

       1.      As Plaintiff previously reported to the Court (Doc. 30), the parties executed a

settlement agreement on March 8, 2021 to resolve this case, but Defendant is in breach of its

obligations under that agreement.

       2.      On June 1, 2021, this Court ordered the parties either to file a stipulation of

dismissal signed by the parties pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure,

or Plaintiff shall file a motion to enforce the settlement agreement. Doc. 31.

       3.      Plaintiff has attempted to communicate numerous times with Defendant and

requested that Defendant comply with its obligations under the parties’ Settlement Agreement.

       4.      To date, Defendant continues to be in breach of the Settlement Agreement, having

failed to make the required settlement payment. See Ex. 1.



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         5.    “A trial court has the power to summarily enforce a settlement agreement between

the parties to a case which is still pending in that court.” Tindall v. Freightquote.com, Inc., No. 10-

2364-EFM, 2011 WL 2444061, at *1 (D. Kan. June 15, 2011), aff’d, 466 F. App’x 752 (10th Cir.

2012).

         6.    The parties to this lawsuit entered into a binding and enforceable written settlement

agreement. Ex. 1.

         7.    Accordingly, Plaintiff respectfully requests that the Court grant this Motion and

enter a judgment in her favor and against Defendant Fresh Farms, LLC in the amount of $2,500,

consistent with the terms of the parties’ Settlement Agreement. See Ex. 1.




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Dated: July 31, 2021                                   Respectfully submitted by:

                                                       BOULWARE LAW LLC

                                                        /s/ Jeremy M. Suhr
                                                       Brandon J.B. Boulware       KS # 25840
                                                       Jeremy M. Suhr              KS # 24025
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                                                       jeremy@boulware-law.com

                                                       Counsel for Plaintiff and the Putative Class



                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 31st day of July 2021 I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF e-filing system, which will send a notice

of electronic filing to counsel of record in this case. A copy will also be sent via email to the email

address provided for Defendant in connection with Defendant counsel’s motion to withdraw (Doc.

17), and via US Mail, as follows:

       Fresh Farms LLC
       2601 S. Minnesota Ave., Ste. 105-257
       Sioux Falls, SD 57105

                                                       /s/ Jeremy M. Suhr
                                                       Attorney for Plaintiff




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